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                   Exhibit
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June 8, 2020

VIA Email: marina@womenwhohack.com
Ms. Marina Petrenko
HackerX, Inc dba WomenHack
333 Bryant St.
San Francisco, CA 94107

Re: Keatley v. HackerX, Inc dba WomenHack
    Our File No.: 00423-0003


Dear Ms. Petrenko,

We are a law firm making a claim on behalf of our client. We know that this is
reaching you during a difficult and trying time and that you may have more pressing
concerns. We appreciate that responding to this letter may not be your first
priority. However, we must receive a response from you so that we know that you are
taking this matter seriously, even if you need more time to hire a lawyer or report this
claim to your insurance carrier. If we hear from you then we can work with you to
understand your position and resolve our client’s claim. Please respond to us.

We write on behalf of our client John Keatley, a photographer, for purposes of resolving
a case of copyright infringement against you by our client. This demand is privileged
from disclosure pursuant to FRE Rule 408.

Please provide this letter to your general liability insurance carriers or other providers of
insurance that may cover this claim.

John Keatley (“Keatley”)
Our client is an experienced professional photographer who makes a living from
photography. Based in Seattle, Washington, Keatley often self-characterizes his work as
a reflection of himself, rathar than the individual he is photographing. His clients
include BECU, Seattle Humane, SFMOMA and Hotels.com. Keatley capitalizes on the
correlation between humor and emotions, including anxiety, fear and isolation, to create
dichotomy in his work.

Keatley's work has been exhibited by the Lucie Foundation in Los Angeles, Treason
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Ms. Marina Petrenko
HackerX, Inc dba WomenHack
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Gallery in Seattle, and Annenberg Space for Photography in Los Angeles, California.

Keatley retains all copyrights to his photographs. Keatley licenses his copyrighted
Works, such as the one in this case, for commercial use.

Keatley created the image entitled “John_Keatley_John_Vechey”, hereinafter referred to
as the “Work.”

The Work at issue is shown below.
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HackerX, Inc dba WomenHack
June 8, 2020
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Keatley registered the Work with the Register of Copyrights on June 6, 2017 and was
assigned the registration number VA 2-053-420, a copy of which is enclosed.

Infringement by HackerX, Inc dba WomenHack (“HackerX”)
The infringement at issue was identified on July 29, 2019. We have enclosed
contemporaneous evidence of the infringement by HackerX. In addition to the
infringement, Keatley's photograph was very obviously cropped as shown on the
attached.

You have employed our client's Work in at least the manner indicated in the evidence
attached. Your unauthorized use commenced on at least the date indicated above. You
are fully aware that the Work you used is our client's Work. No one from your company
ever sought a license from our client to use the Work for any purpose.

You have copied, displayed and distributed our client's Work without permission,
license or consent. The use of a creator's photographic image without written consent or
license violates the United States Code, Title 17, and The Copyright Act. The Copyright
Act provides for entry of an injunction directing removal of the offending materials
pending litigation. This letter shall serve as formal notice that you immediately cease
and desist all unauthorized uses of our client's Work. Any such further uses shall be at
your peril.

If you possess a contract, license, agreement or writing on which you will rely for
authorization of your use of our client's Work, please provide us with this evidence so
we may avoid further controversy or litigation. Otherwise, we will be forced to assume
that your use violated the law.

Damages
Copyright law provides several different elements of compensation to Keatley when a
work is infringed or altered. Section 504 permits Keatley to recover actual damages plus
“any additional profits of the infringer that are attributable to the infringement and are
not taken into account in computing the actual damages,” or statutory damages of up to
$150,000 per work infringed if the registration predated the infringement. Keatley can
present both damages theories to the jury and select the higher award any time prior to
entry of judgment.

Academic studies have demonstrated that the use of good quality photographs more
effectively market and advertise products and drive sales. Keatley's photographs are of
the highest quality. Keatley's photographs are also scarce since he is one of the only
sources of such quality photographs.
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HackerX, Inc dba WomenHack
June 8, 2020
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Keatley's damages are not limited to what he would have agreed to license the Work for
prior to the infringement. Rather, Keatley's actual damages will be measured by the fair
market value of the photograph considering HackerX’s use to sell and promote its
business. Keatley's actual damages must be measured in light of HackerX’s use of
Keatley's high quality and unique Work.

This is consistent with federal courts’ approach to broadly construing the term “actual
damages” to favor victims of infringement. See, e.g., Davis v. Gap, Inc., 246 F.3d 152, 164
(2d Cir. 2001). The fair market value approach for calculating damages is an accepted
approach to valuing the defendants’ uses of photographs. See Leonard v. Stemtech Int'l,
Inc., Nos. 15-3198, 15-3247, 2016 U.S. App. LEXIS 15565 (3d Cir. Aug. 24, 2016). In
addition, Keatley can offer evidence of the actual cost to take the photograph infringed
on a time and materials basis.

Section 504 of the Copyright Act permits Keatley to recover actual damages plus “any
additional profits of the infringer that are attributable to the infringement and are not
taken into account in computing the actual damages.” Therefore, Keatley will also be
entitled to HackerX’s profits from the infringement, based upon the revenue HackerX
earned in connection with the use of Keatley's Work.

Alternatively, Keatley could seek statutory damages for infringement in an amount of
up to $30,000 per work infringed if the registration predated the infringement. There is
also the possibility that a judge or jury could determine that HackerX’s infringement
was willful. If HackerX’s infringement was shown to be willful, the statutory damage
award would increase to an amount up to $150,000 per work infringed.

Demand
In order to determine how to proceed, please provide us with information and
documents showing:

1.     the full nature and extent of the use of our client's Work, in any and all formats;

2.     representative copies in any and all tangible form and media in which our
       client's Work was incorporated or employed; and

3.     the source of the Work.

Upon receipt of this information we will consider and determine an appropriate amount
required to be paid to our client in compensation.

Please carefully consider this letter and the associated exhibits and provide them to your
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Ms. Marina Petrenko
HackerX, Inc dba WomenHack
June 8, 2020
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attorneys and insurance carriers. If we do not receive a response from you or a
representative by June 22, 2020, we will take further steps to protect our client’s rights.
We look forward to your prompt response.

Sincerely,

SRIPLAW




Jonah A. Grossbardt
JAG/stj
enclosures
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August 18, 2020

VIA EMAIL: marina@womenwhohack.com
Ms. Marina Petrenko
Ms. Samantha Boivin
HackerX, Inc dba WomenHack
333 Bryant St.
San Francisco, CA 94107

Re: Keatley v. HackerX, Inc dba WomenHack
    Our File No.: 00423-0003


Dear Ms. Petrenko and Ms. Boivin,

We write pursuant to California law to demand a response with insurance information
for each known policy of liability insurance you may have that may provide coverage
for all or a portion of our client’s claims in this matter. Please give this letter to your
insurance carriers and ask them to respond to us directly.

California law states “A party may obtain discovery of the existence and contents of any
agreement under which any insurance carrier may be liable to satisfy in whole or in part
a judgment that may be entered in the action or to indemnify or reimburse for payments
made to satisfy the judgment. This discovery may include the identity of the carrier and
the nature and limits of the coverage...” Code Civ. Proc. § 2017.210. A liability carrier
must promptly release policy limits information in response to such a request. See
Boicourt v. Amex Assurance Co. 78 Cal.App.4th 1390, 1397 (2000).

Upon receipt, please provide us with the following information:

   (a) The name of the insurer;

   (b) The name of each insured;

   (c) The limits of the liability coverage;

   (d) A statement of any policy or coverage defense which such insurer reasonably
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Ms. Marina Petrenko & Samantha Boivin
HackerX, Inc dba WomenHack
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       believes is available to such insurers at the time of filing such statement; and

   (e) A copy of the policy.

Thank you in advance for your anticipated cooperation.

Sincerely,

SRIPLAW



Jonah A. Grossbardt

JAG/jmb
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August 19, 2020

VIA EMAIL: marina@womenwhohack.com
Ms. Marina Petrenko
Ms. Samantha Boivin
HackerX, Inc dba WomenHack
333 Bryant St.
San Francisco, CA 94107

Re: Keatley v. HackerX, Inc dba WomenHack
    Our File No.: 00423-0003


Dear Ms. Petrenko and Ms. Boivin,

We are a law firm making a claim on behalf of our client. We know that this is
reaching you during a difficult and trying time and that you may have more pressing
concerns. We appreciate that responding to this letter may not be your first
priority. However, we must receive a response from you so that we know that you are
taking this matter seriously, even if you need more time to hire a lawyer or report this
claim to your insurance carrier. If we hear from you then we can work with you to
understand your position and resolve our client’s claim. Please respond to us.

We write this follow up letter on behalf of our client John Keatley, for the purposes of
resolving a case of copyright infringement against you by our client. This demand is
privileged from disclosure pursuant to FRE Rule 408.

Enclosed please find our prior letter dated June 8, 2020, wherein we detailed the basis of
the copyright infringement claim against you, including the evidence of infringement.

We note that a review of the accused infringing webpage shows that the infringement
has been removed. However, this does not dispose of our client’s claim. It is imperative
that you respond to us. If we do not hear back from you, we will be forced to take
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Ms. Marina Petrenko & Samantha Boivin
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further steps to protect our client’s rights including by filing a lawsuit against you. We
also repeat our demand that you tender this claim to your insurance carrier.

We look forward to your prompt response.

Sincerely,

SRIPLAW




Jonah A. Grossbardt

JAG/jmb
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December 15, 2020

VIA FEDEX:
Ms. Marina Petrenko
HackerX, Inc dba WomenHack
333 Bryant St.
San Francisco, CA 94107

Re: Keatley v. HackerX, Inc dba WomenHack
    Our File No.: 00423-0003


Dear Ms. Petrenko,

We are a law firm making a claim on behalf of our client. We know that this is
reaching you during a difficult and trying time and that you may have more pressing
concerns. We appreciate that responding to this letter may not be your first
priority. However, we must receive a response from you so that we know that you are
taking this matter seriously, even if you need more time to hire a lawyer or report this
claim to your insurance carrier. If we hear from you then we can work with you to
understand your position and resolve our client’s claim. Please respond to us.

We write on behalf of our client John Keatley, a photographer, for purposes of resolving
a case of copyright infringement against you by our client. This demand is privileged
from disclosure pursuant to FRE Rule 408.

Please provide this letter to your general liability insurance carriers or other providers of
insurance that may cover this claim.

John Keatley (“Keatley”)
Our client is an experienced professional photographer who makes a living from
photography. Based in Seattle, Washington, Keatley often self-characterizes his work as
a reflection of himself, rathar than the individual he is photographing. His clients
include BECU, Seattle Humane, SFMOMA and Hotels.com. Keatley capitalizes on the
correlation between humor and emotions, including anxiety, fear and isolation, to create
dichotomy in his work.

Keatley's work has been exhibited by the Lucie Foundation in Los Angeles, Treason
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Ms. Marina Petrenko
HackerX, Inc dba WomenHack
December 15, 2020
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Gallery in Seattle, and Annenberg Space for Photography in Los Angeles, California.

Keatley retains all copyrights to his photographs. Keatley licenses his copyrighted
Works, such as the one in this case, for commercial use.

Keatley created the image entitled “John_Keatley_John_Vechey”, hereinafter referred to
as the “Work.”

The Work at issue is shown below.
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HackerX, Inc dba WomenHack
December 15, 2020
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Keatley registered the Work with the Register of Copyrights on June 6, 2017 and was
assigned the registration number VA 2-053-420, a copy of which is enclosed.

Infringement by HackerX, Inc dba WomenHack (“HackerX”)
The infringement at issue was identified on July 29, 2019. We have enclosed
contemporaneous evidence of the infringement by HackerX. In addition to the
infringement, Keatley's photograph was very obviously cropped as shown on the
attached.

You have employed our client's Work in at least the manner indicated in the evidence
attached. Your unauthorized use commenced on at least the date indicated above. You
are fully aware that the Work you used is our client's Work. No one from your company
ever sought a license from our client to use the Work for any purpose.

You have copied, displayed and distributed our client's Work without permission,
license or consent. The use of a creator's photographic image without written consent or
license violates the United States Code, Title 17, and The Copyright Act. The Copyright
Act provides for entry of an injunction directing removal of the offending materials
pending litigation. This letter shall serve as formal notice that you immediately cease
and desist all unauthorized uses of our client's Work. Any such further uses shall be at
your peril.

If you possess a contract, license, agreement or writing on which you will rely for
authorization of your use of our client's Work, please provide us with this evidence so
we may avoid further controversy or litigation. Otherwise, we will be forced to assume
that your use violated the law.

Damages
Copyright law provides several different elements of compensation to Keatley when a
work is infringed or altered. Section 504 permits Keatley to recover actual damages plus
“any additional profits of the infringer that are attributable to the infringement and are
not taken into account in computing the actual damages,” or statutory damages of up to
$150,000 per work infringed if the registration predated the infringement. Keatley can
present both damages theories to the jury and select the higher award any time prior to
entry of judgment.

Academic studies have demonstrated that the use of good quality photographs more
effectively market and advertise products and drive sales. Keatley's photographs are of
the highest quality. Keatley's photographs are also scarce since he is one of the only
sources of such quality photographs.
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Keatley's damages are not limited to what he would have agreed to license the Work for
prior to the infringement. Rather, Keatley's actual damages will be measured by the fair
market value of the photograph considering HackerX’s use to sell and promote its
business. Keatley's actual damages must be measured in light of HackerX’s use of
Keatley's high quality and unique Work.

This is consistent with federal courts’ approach to broadly construing the term “actual
damages” to favor victims of infringement. See, e.g., Davis v. Gap, Inc., 246 F.3d 152, 164
(2d Cir. 2001). The fair market value approach for calculating damages is an accepted
approach to valuing the defendants’ uses of photographs. See Leonard v. Stemtech Int'l,
Inc., Nos. 15-3198, 15-3247, 2016 U.S. App. LEXIS 15565 (3d Cir. Aug. 24, 2016). In
addition, Keatley can offer evidence of the actual cost to take the photograph infringed
on a time and materials basis.

Section 504 of the Copyright Act permits Keatley to recover actual damages plus “any
additional profits of the infringer that are attributable to the infringement and are not
taken into account in computing the actual damages.” Therefore, Keatley will also be
entitled to HackerX’s profits from the infringement, based upon the revenue HackerX
earned in connection with the use of Keatley's Work.

Alternatively, Keatley could seek statutory damages for infringement in an amount of
up to $30,000 per work infringed if the registration predated the infringement. There is
also the possibility that a judge or jury could determine that HackerX’s infringement
was willful. If HackerX’s infringement was shown to be willful, the statutory damage
award would increase to an amount up to $150,000 per work infringed.

Demand
In order to determine how to proceed, please provide us with information and
documents showing:

1.     the full nature and extent of the use of our client's Work, in any and all formats;

2.     representative copies in any and all tangible form and media in which our
       client's Work was incorporated or employed; and

3.     the source of the Work.

Upon receipt of this information we will consider and determine an appropriate amount
required to be paid to our client in compensation.

Please carefully consider this letter and the associated exhibits and provide them to your
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HackerX, Inc dba WomenHack
December 15, 2020
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attorneys and insurance carriers. If we do not receive a response from you or a
representative by December 29, 2020, we will take further steps to protect our client’s
rights. We look forward to your prompt response.

Sincerely,

SRIPLAW




Jonah A. Grossbardt
JAG/stj
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